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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

DENNY DEJESUS, 10-B-2030

                                Plaintiffs,                     ANSWER

                -vs-                                            16-CV-6470

CORRECTIONS OFFICER MALLOY

                        Defendant.
_________________________________

        Defendant, by his attorney Letitia James, Attorney General of the State of New

York, Hillel Deutsch, Assistant Attorney General, of counsel, as and for an Answer to the

Second Amended Complaint filed in the above matter:

                1.      Denies the allegations of the Complaint which allege in any manner

that their actions resulted in a deprivation of the Plaintiffs’ constitutional rights.

                2.      Denies the commission or awareness of, or responsibility for, any

acts of omission or commission relative to Plaintiffs’ allegations constituting a violation of

any rule, regulation, directive, policy, or statute of the State of New York, or the United

States, or the Constitution of either, which would confer jurisdiction upon this Court

pursuant to 28 U.S.C. §§1331 and 1343.

                3.      Denies Plaintiff has alleged facts, actions, occurrences, or omissions

sufficient to establish a claim for equitable or monetary relief, or a cause of action against

him pursuant to 42 U.S.C. §1983.

                4.      Denies the allegations of paragraph 7 of the Second Amended

Complaint.
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                5.      Has insufficient information to admit or deny the allegations of

paragraphs 3, 4, 5, 6, 8, 9, 10, 11, 12, 13, 14, 15 and 16 of the Second Amended

Complaint.

                6.      States that the paragraphs 1 and 2 of the Second Amended

Complaint contain legal conclusions to which no response is needed.

                7.      Denies each and every other allegation not heretofore admitted,

denied, or otherwise controverted.

                        AS AND FOR A FIRST, SEPARATE AND
                        COMPLETE AFFIRMATIVE DEFENSE,
                              DEFENDANT ALLEGES:

                8.      The Complaint fails, in whole or in part, to state a claim upon which

relief can be granted against it.

                      AS AND FOR A SECOND, SEPARATE AND
                       COMPLETE AFFIRMATIVE DEFENSE,
                             DEFENDANT ALLEGES:

                9.      This action is barred, in whole or in part, by collateral estoppel or

res judicata.

                       AS AND FOR A THIRD, SEPARATE AND
                       COMPLETE AFFIRMATIVE DEFENSE,
                             DEFENDANT ALLEGES:

                10.     The Defendant, at all times relevant hereto, acted without malice and

under the reasonable belief that his actions were proper and in accordance with existing

law and did not violate any of the Plaintiffs’ rights.
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               11.     Consequently, the Defendant is entitled to qualified immunity.

                     AS AND FOR A FOURTH, SEPARATE AND
                      COMPLETE AFFIRMATIVE DEFENSE,
                            DEFENDANT ALLEGES:

               12.     That this action is barred, in whole or in part, by the Eleventh

Amendment to the United States Constitution.

                       AS AND FOR A FIFTH, SEPARATE AND
                       COMPLETE AFFIRMATIVE DEFENSE,
                             DEFENDANT ALLEGES:

               13.     Plaintiff has failed to exhaust administrative remedies as to some or

all of the allegation of the Complaint.

                       AS AND FOR A SIXTH, SEPARATE AND
                       COMPLETE AFFIRMATIVE DEFENSE,
                             DEFENDANT ALLEGES:

               14.     The doctrine of respondeat superior does not apply in actions brought

pursuant to 42 U.S.C. §1983, and bars relief to the Plaintiff.


                     AS AND FOR A SEVENTH, SEPARATE AND
                       COMPLETE AFFIRMATIVE DEFENSE,
                             DEFENDANT ALLEGES:

               15.     Plaintiff has failed to request any appropriate or cognizable form of

relief.
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               WHEREFORE, Defendant prays that judgment be entered dismissing the

Second Amended Complaint in all respects and that Defendant be awarded reasonable

costs and attorneys’ fees and for such other and further relief as may be just, proper, and

equitable.

Dated: April 11, 2019
       Rochester, New York

                                      LETITIA JAMES
                                      Attorney General of the State of New York
                                      Attorney for Served Defendants


                                       s/ Hillel Deutsch
                                      HILLEL DEUTSCH
                                      Assistant Attorney General of Counsel
                                      NYS Office of the Attorney General
                                      144 Exchange Boulevard, Suite 200
                                      Rochester, New York 14614
                                      Telephone: (585) 546-7430
                                      hillel.deutsch@ag.ny.gov
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                              CERTIFICATE OF SERVICE

        I certify that on April 11, 2019, I electronically filed the foregoing Answer to

Complaint on behalf of Served Defendants with the Clerk of the District Court using

CM/ECF system, which sent notification of such filing to the following:

1.      n/a

And, I hereby certify that I have mailed, by the United States Postal Service, the document

to the following non-CM/ECF participant(s):

1.      Denny DeJesus, 10B2030
        Southport Correctional Facility
        236 Bob Masia Dr
        P.O. Box 2000
        Pine City, NY 14871-2000


                                       LETITIA JAMES
                                       Attorney General of the State of New York
                                       Attorney for Served Defendants

                                        s/ Hillel Deutsch
                                       HILLEL DEUTSCH
                                       Assistant Attorney General of Counsel
                                       NYS Office of the Attorney General
                                       144 Exchange Boulevard, Suite 200
                                       Rochester, New York 14614
                                       Telephone: (585) 546-7430
                                       hillel.deutsch@ag.ny.gov
